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                                      UNITED STATES DISTRICT COURT
                                                             for the
                                             NORTHERN DISTRICT OF TEXAS

       IN RE HIGHLAND CAPITAL                                 §
       MANAGEMENT,L.P.,                                       §
                                                              §
                Reorganized Debtor                            §
       MARK S KIRSCHNER,AS LITIGATION                                       Civil Action No. 19-34054-SGJ
       TRUSTEE OF THE LITIGATION SUB-
       TRUST
                          Plaintiff                           §
       V.                                                     §
       JAMES D.DONDERO,et al,                                 §
                         Defendants


                                               RETURN OF SERVICE
    Came to my hand on Monday,February 13,2023 at 2:31 PM,
    Executed at: 1999 BRYAN STREET,SUITE 900, DALLAS,TX 75201
    at 10:20 AM,on Tuesday, February 14, 2023,
    by delivering to the within named:
                                               LATHAM & WATKINS LLP


    by delivering to its Registered Agent, CT CORPORATION SYSTEM
    by personally delivering to its Authorized Employee,TERRITHONGSAVAT
    a true copy of this
    SUBPOENA TO PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS OR TO PERMIT
    INSPECTION OF PREMISES IN A BANKRUPTCY CASE(OR ADVERSARY PROCEEDING)
            with ATTACHMENT A and AMENDED NOTICE OF ISSUANCE OF SUBPOENA TO
      PRODUCE DOCUMENTS,INFORMATION,OR OBJECTS OR TO PERMIT INSPECTION
                                 OF PREMISES TO LATHAM & WATKINS LLP.
    having first endorsed thereon the date of the delivery.
BEFORE ME, the undersigned authority, on this day personally appeared Ryan McColm who after being duly sworn on
oath states; "My name is Ryan McColm. I am a person not less than eighteen (18) years of age and I am competent to
make this oath. I am a resident of the State of Texas. I have personal knowledge of the facts and statements contained
herein and aver that each is true and correct. I am not a parly to nor related or affiliated with any party to this suit. I have
no interest in the outcome of the suit. I have never been convicted of a felony or of a misdemeanor involving moral
turpitude. I am familiar with the Texas Rules of Civil Procedure, and the Texas Civil Practice and Remedies Codes as
they apply to service of process. I am certified by the Judicial Branch Certification Commission to deliver citations and
other notices from any District, County and Justice Courts in and for the State of Texas in compliance with rule 103 and
501.2 ofthe TRCP.



    By:_
       Ryan McColib - PSC 6317 - Exp 01/31/25
         servcd@spccial(]clivery.com


    Subscribed and Sworn to by Ryan McColm,Before Me, the undersigned aut^rity,on this
   ^i^jj^day of February,2023.
                      ^BRITTNEY LEIGH WOOOALL
                             Notary Public
                                                                   ftb   bUAy                                    J
                          STATE OF TEXAS                           Notary Public ii'    and for the State of T^as
                            ID#12979020-7
                       My Comm. Exp. Sept.9.2023
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